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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                     Plaintiff,                                 4:16CR3039

     vs.
                                                                   ORDER
RAHMAN M. NABAVI and ISABEL M.
MALLAR,

                     Defendants.



      Defendants have moved to continue their change of plea hearings. (Filing
No. 82). As explained by counsel, the parties need additional time to engage in
plea discussions. The motion to continue is unopposed. Based on the
representations of counsel, the court finds the motion should be granted.
Accordingly,

      IT IS ORDERED:

      1)       Defendants’ motion to continue, (Filing No. 82), is granted.

      2)       Defendant Nabavi’s plea hearing will be held before the undersigned
               magistrate judge on November 15, 2017 at 11:00 a.m. Defendant is
               ordered to appear at this hearing.

      3)       Defendant Mallar’s plea hearing will be held before the undersigned
               magistrate judge on November 15, 2017 at 10:30 a.m. Defendant is
               ordered to appear at this hearing.

      4)       For the reasons stated by counsel, the Court finds that the ends of
               justice served by continuing Defendant's plea hearing outweigh the
               best interest of Defendant and the public in a speedy trial.
               Accordingly, the time between today's date and the district court
               judge's acceptance or rejection of the anticipated plea of guilty shall
               be excluded for speedy trial calculation purposes. 18 U.S.C. §
               3161(h)(7). Failing to timely object to this order as provided under
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          this court’s local rules will be deemed a waiver of any right to later
          claim the time should not have been excluded under the Speedy
          Trial Act.

    October 10, 2017.
                                          BY THE COURT:

                                          s/ Cheryl R. Zwart
                                          United States Magistrate Judge




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